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               UNITED STATES DISTRICT COURT                      2C8        :Li   9: flj
               SOUThERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION


JOHN W. BAUGHMAN,          )
                           )
    Movant,                )
V.                         )           Case No. CV407-191
                          )                    [CR407-130j
                          )
UNITED STATES OF AMERTCA, )
                          )
    Respondent.           )

                               ORDER

     After a careful novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

     SO ORDERED this (3 day of__________ 2008.


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